 8:16-cr-00231-RFR-SMB                 Doc # 39        Filed: 10/04/16        Page 1 of 1 - Page ID # 92



                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                     )
                                                              )                8:16CR231
                          Plaintiff,                          )
                                                              )
        vs.                                                   )                 ORDER
                                                              )
KEVIN PADILLA-OLMEDO,                                         )
                                                              )
                          Defendant.                          )


        This matter is before the court on the motion to extend the pretrial motion deadline and to continue trial
by defendant Kevin Padilla-Olmedo (Padilla-Olmedo) (Filing No.34). The court heard the motion during a
detention hearing on October 4, 2016. Padilla-Olmedo was present with his counsel, Craig M. Martin. The
United States was represented by Assistant U.S. Attorney Douglas Amen. Padilla-Olmedo agreed to the motion
and understood the additional time required by the motion would be excluded under the Speedy Trial Act. The
motion will be granted.
        IT IS ORDERED:
        1.       The motion to continue trial is granted. The trial setting for October 31, 2016, before Judge
Robert F. Rossiter, Jr., is canceled. Trial will be rescheduled following the disposition of any pretrial motions or
the expiration of the pretrial motion deadline.
        2.       Defendant Padilla-Olmedo's motion for an extension of the pretrial motion deadline is granted.
Padilla-Olmedo is given until on or before November 4, 2016, in which to file pretrial motions pursuant to the
progression order. The ends of justice have been served by granting such motion and outweigh the interests
of the public and the defendant in a speedy trial. The additional time arising as a result of the granting of the

motion, i.e., the time between October 5, 2016, and November 4, 2016, shall be deemed excludable time
in any computation of time under the requirement of the Speedy Trial Act for the reason defendant's counsel
requires additional time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in a miscarriage of
justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
        DATED this 4th day of October, 2016.
                                                              BY THE COURT:
                                                              s/ Thomas D. Thalken
                                                              United States Magistrate Judge
